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 1
     Nico Banks, Esq.
     nico@bankslawoffice.com
 2   Filing on behalf of all Plaintiffs
 3   CA Bar No. 344705
     Banks Law Office
 4   712 H St NE,
 5   Unit #8571,
     Washington, DC 20002
 6   Tel.: 971-678-0036
 7

 8
 9                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
10
     DAVID HOUGH; et al.                                        )
11                                                              ) Case No.: 2:24-cv-02886-WLH
                                                                )
12                                       Plaintiffs,            ) PLAINTIFFS’ MOTION FOR
                                                                ) SANCTIONS AGAINST ORIGINAL
13           vs.                                                )
                                                                ) JURISDICTIONAL DEFENDANTS
14                                                              )
     RYAN CARROLL; et al.                                       ) Hearing: June 28, 2024, 1:30 pm
15                                                              ) Presiding Judge. Hon. Wesley L. Hsu
                                        Defendants.             ) Trial Date: N/A
16                                                              )
                                                                )
17                                                              )
                                                                )
18                                                              )
19

20           PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST ORIGINAL
21                       JURISDICTIONAL DEFENDANTS

22           Plaintiffs submit this Motion for Sanctions against the Original Jurisdictional
23
     Defendants 1 (hereinafter, “Defendants”) and state to the Court as follows:
24

25

26

27

28
     1
      The “Original Jurisdictional Defendants” are the defendants named in the original complaint: Ryan Carroll; Max K.
     Day; Max O. Day; Michael Day; Yax Ecommerce LLC; Precision Trading Group, LLC; and WA Distribution LLC.
                                                              -1-
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 1

 2                               MEMORANDUM OF LAW

 3                                        SUMMARY
 4
           At the outset of this case, the Court ordered Defendants to make basic
 5

 6 disclosures about their assets urgently—within five business days of receiving the

 7 Order—to ensure that Defendants did not dissipate or conceal those assets while the

 8
     case was pending. More than a month later, Defendants’ disclosures in response to
 9

10 that Order remain woefully incomplete. Furthermore, despite numerous requests from

11 Plaintiffs, Defendants have failed to correct important technical deficiencies in their

12
     productions.
13

14         It is clear that Defendants and their attorneys are acting in bad faith. Therefore,
15 Plaintiffs respectfully request that the Court (1) order that Defendants be incarcerated

16
     until they have complied with the Court’s asset-disclosure orders, (2) order
17

18 Defendants’ attorneys to pay Plaintiffs $1,000 for each day that Defendants are not in

19 compliance with the Court’s previous discovery orders (in the past or in the future),

20
     and (3) order Defendants’ attorneys to pay Plaintiffs’ attorneys fees and costs that
21

22 would not have been incurred but-for Defendants’ bad-faith conduct.

23
                                             FACTS
24
           A. Defendants Failed To Make Disclosures Required By The Court’s
25
              Temporary Restraining Order
26
           Plaintiffs’ original complaint alleged that Defendants carried out a fraudulent
27

28 scheme that defrauded Plaintiffs and many other individuals, and that Defendants are
                                             -3-
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 1
     in the process of concealing and fraudulently transferring assets for the purpose of

 2 preventing Plaintiffs and others from collecting on a judgment against Defendants. 2

 3
              On April 15, 2024, the Court issued a temporary restraining order (ECF 17)
 4

 5 that (1) froze all assets held “by or for the benefit of” the entities and individuals that

 6 the Court referred to as the “Jurisdictional Defendants” (with certain allowances for

 7
     the humans’ necessary personal expenses), and (2) ordered the Jurisdictional
 8
 9 Defendants to disclose, within five business days of receiving the order, certain

10 identifying information about accounts holding assets “for the benefit of” Defendants.

11
              On the day that Defendants’ asset disclosures were due, April 22, 2024,
12

13 Defendants disclosed fewer than $15,000 worth of assets, all of which were held in

14 the name of the human Defendants. (Banks Declaration, ¶ 3). The next day, Plaintiffs

15
     notified Defendants that they clearly had not complied with the Court’s asset-
16

17 disclosure order. (Banks Declaration, ¶ 4). On April 24, 2024, Defendants disclosed

18 some additional assets held in the name of the entity Defendants but no additional

19
     assets held in the name of the human Defendants. (Banks Declaration, ¶ 5). The value
20

21 of all assets disclosed by Defendants totaled less than $500,000. (Banks Declaration,

22 ¶ 5-6). Notably, Defendants later disclosed several accounts held in their own names

23
     in response to the interrogatories discussed below, which demonstrates that
24

25

26

27

28
     2
      Plaintiffs have now amended their complaint to include putative class allegations, additional factual allegations, and
     additional defendants.
                                                              -4-
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 1
     Defendants’ initial asset disclosures were facially incomplete. (Banks Declaration,

 2 ¶ 7).

 3
            On April 25, 2024, Plaintiffs filed an ex parte motion requesting expedited
 4

 5 discovery. (ECF 25-27). In that motion, Plaintiffs noted that Defendants’ scant asset

 6 disclosures were still clearly incomplete, in part because Defendants had stated at a

 7
     recent hearing that they required at least $13,000 per month to satisfy their ordinary
 8
 9 living expenses. (Id.) That statement was clearly inconsistent with Defendants’

10 disclosures stating that none of the human Defendants had more than $10,000. (Id.)

11
     Therefore, it was obvious that Defendants were not making asset disclosures in good
12

13 faith, and Plaintiffs needed leave to conduct additional discovery to locate

14 Defendants’ assets. (Id.)

15
            On April 29, 2024, the Court granted Plaintiffs’ ex parte motion for expedited
16

17 discovery. (ECF 38). In particular, the Court (1) granted Plaintiffs leave to issue an

18 expedited document request to Defendants requiring them to produce their federal tax

19
     returns for 2021, 2022, and 2023 by May 8, 2024, and (2) granted Plaintiffs leave to
20

21 issue an expedited interrogatory that required Defendants to make broader asset

22 disclosures—including identifying assets they have controlled at any time since May

23
     of 2022—by May 11, 2024. (Id.) The Court also ordered Defendants to show cause
24

25 on May 13, 2024 why they should not be sanctioned for their bad-faith failure to

26 reasonably comply with the Court’s initial asset-disclosure order issued in the

27
     temporary restraining order. (Id.).
28
                                               -5-
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 1
            B. Defendants Failed To Comply With The Court’s Subsequent Discovery
               Order
 2

 3          On April 30, 2024, Plaintiffs sent Defendants an email reiterating the Court’s

 4 statement that Defendants’ litigation conduct must improve. (Banks Declaration at

 5
     Exhibit A). Plaintiffs also warned Defendants that if they did not promptly and
 6

 7 completely update their asset disclosures, then Plaintiffs would ask the Court to hold

 8 Defendants in contempt of court. (Id.). Plaintiffs stated that the overdue asset
 9
     disclosures responsive to the temporary restraining order must be updated before
10

11 Defendants served their interrogatory responses. (Id.). The disclosures were urgent in

12 part because Plaintiffs knew that, soon, Defendants would be notified by their banks

13
     about which of their accounts had been identified and frozen. That information would
14

15 allow Defendants to disclose only the assets that had already been identified and keep

16 other assets—which Plaintiffs had not been able to find—hidden. Nonetheless,

17
     Defendants refused to update their disclosures responsive to the temporary restraining
18

19 order.

20          On May 8, 2024, Defendants produced some tax returns (Banks Declaration,
21
     ¶ 8), but the production did not evince a reasonable attempt to comply with the
22

23 Court’s expedited discovery order because, as discussed in more detail below, (1)

24 Defendants inappropriately redacted some of the most important information on the

25
     tax returns, such as the last four digits of the employer identification numbers of the
26

27 entities they controlled, and (2) the tax returns were unsigned, and Defendanats

28
                                             -6-
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 1
     refused to confirm that the produced tax returns were the same as the ones that were

 2 filed with the IRS.

 3
           On May 11, 2024, Defendants produced responses to Plaintiffs’ interrogatories
 4

 5 that required Defendants to disclose additional information about assets that

 6 Defendants had held since May of 2022. (Banks Declaration, ¶ F). The responses

 7
     were deficient because, as discussed in more detail below, (1) they clearly omitted
 8
 9 many significant assets, and (2) they often did not include the last four digits of

10 Defendants’ financial account numbers.

11
           On May 13, 2024, the Court issued a preliminary injunction order that
12

13 extended the temporary restraining order’s asset freeze until the end of the case, with

14 certain modifications, including that the order did not extend to Defendants WA

15
     Distribution or Precision Trading Group because the Court found that it may not have
16

17 personal jurisdiction over those defendants. (ECF 49). The Court also discharged the

18 aforementioned order to show cause without sanctioning Defendants. (Id.) The

19
     Court’s rationale for discharging the order to show cause was likely that Plaintiffs
20

21 had not yet been able to identify specific assets that Defendants had not identified.

22         C. Defendants Have Failed To Correct The Tax-Return Production
23            Deficiencies
24         As noted above, the tax returns that Defendants produced do not appear to be
25
     the tax returns actually filed with the IRS. On May 9, 2024—the day after Defendants
26

27 produced the tax returns—Plaintiffs sent Defendants emails identifying numerous

28 deficiencies in the tax-return production. (Banks Declaration, Exhibit B). Defendants
                                             -7-
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 1
     subsequently (but belatedly) corrected two of those deficiencies: (1) Plaintiffs noted

 2 that Defendants had improperly redacted the last four digits of their social security

 3
     numbers, which were urgent and vital for identifying Defendants’ financial accounts,
 4

 5 and Defendants subsequently emailed Plaintiffs the last four digits of the social

 6 security numbers on May 17 (the day after Plaintiffs issued and served the subpoenas

 7
     directed to banks) (Banks Declaration, ¶ 14); and (2) Plaintiffs noted that Defendant
 8
 9 Michael Day’s 2022 tax return was missing, and Defendants subsequently produced

10 that tax return on May 17. (Banks Declaration, ¶ 14).

11
              However, Defendants failed to correct the other deficiencies that Plaintiffs
12

13 noted in their May 9th emails. To begin with, all of the produced tax returns are

14 unsigned except Ryan Carroll’s tax returns and Yax Ecommerce’s 3 tax returns.

15
     (Banks Declaration, ¶ 5). Yax Ecommerce’s produced tax returns were signed May 3,
16

17 2024, so they were clearly prepared solely for the purpose of the production. (Banks

18 Declaration, ¶ 11-12).

19
              Defendants noted at the prior hearing (for the first time) that the unsigned tax
20

21 returns may be unsigned because they were e-filed. That explanation seems

22 implausible; even e-filed tax returns must be signed (albeit with an electronic

23
     signature rather than a physical one).
24

25            Nonetheless, on May 14, 2024, Plaintiffs told Defendants that Plaintiffs would
26 accept the unsigned versions of the tax returns if Defendants or their attorneys

27

28   3
         Yax Ecommerce is one of the entities formerly known as Wealth Assistants.
                                                               -8-
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 1
     confirmed in writing that the produced tax returns were identical to the ones filed

 2 with the IRS except for the signature. (Banks Declaration, Exhibit I). Plaintiffs have

 3
     followed up with Defendants about that request multiple times, but Defendants have
 4

 5 failed to confirm that the tax returns they produced are identical to the tax returns

 6 filed with the IRS. (Banks Declaration, ¶ 15).

 7
           Moreover, the May 9 emails noted that the tax-return production improperly
 8
 9 redacted critical identifying information, including the last four digits of the employer

10 identification numbers for the shell companies under Defendants’ control. Plaintiffs

11
     have requested that Defendants remove those improper redactions on multiple
12

13 occasions, and Defendants have not done so. (Banks Declaration, ¶ 15).

14         D. Plaintiffs Repeatedly Met And Conferred With Defendants Regarding
15            Discovery Deficiencies
16         On May 12, 2024—the day after Plaintiffs received Defendants’ responses to
17
     the interrogatories regarding asset disclosures—Plaintiffs noted several deficiencies
18

19 in the interrogatory responses. In particular, Plaintiffs responded to the production by

20 stating:

21
                        Some initial comments and questions:
22

23                      The PDFs you produced exclude a lot of information. Please
                        immediately either disclose the native spreadsheets or disclose
24                      PDFs that do not cut off the cells.
25                      Why don't Michael Day's disclosures include WWKB's assets,
                        given that he owns and controls that company?
26

27                      Several of the entities only show the "peak value" of assets and do
                        not have a column for "current value." Please fix that
28                      immediately.
                                             -9-
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 1
           (Banks Declaration, Exhibit G). On May 14, 2024—the day after the prior
 2

 3 court hearing—Plaintiffs told Defendants that if Defendants did not cure their

 4 discovery deficiencies within the next forty-eight hours, Plaintiffs would move for

 5
     sanctions. (Banks Declaration, Exhibit I). Defendants responded by implausibly
 6

 7 feigning ignorance about the discovery deficiencies. Specifically, on May 15, 2024,

 8 Defendants’ counsel William Shibley wrote a letter claiming, falsely, that he was not
 9
     a party to prior discussions about Defendants’ discovery deficiencies. (Banks
10

11 Declaration, Exhibit H). In reality, Mr. Shibley received all emails about discovery

12 deficiencies discussed herein and was a party to the related conversations.

13
           Nonetheless, Plaintiffs responded on the same day by attaching the email
14

15 threads listing the discovery deficiencies so that Mr. Shibley could review them.

16 (Banks Declaration, Exhibit I). Mr. Shibley responded to those lists of discovery

17
     deficiencies by stating:
18

19                Although I am still uncertain as to what you actually want in responses
                  to discovery, I have asked the Texas attorneys to review and respond
20                further. It still may take a few days for them to obtain that information
21                and respond. It would simplify matters for all parties involved if you
                  would provide a specific list of what you claim the inadequacies are.
22

23         (Id.) That response was absurd; the correspondence that Plaintiffs had sent and
24 re-sent to Mr. Shibley set forth a clear list of the discovery deficiencies, which were

25
     very simple, and the asset disclosures were long overdue pursuant to the Court’s
26

27 emergency discovery order. Nonetheless, Plaintiffs then sent a consolidated list of

28 discovery deficiencies to Defendants, and Plaintiffs agreed to meet with Defendants
                                             - 10 -
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 1
     via videoconference for further discussion. (Id.). Prior to the videoconference,

 2 Plaintiffs also noted that they planned to move for sanctions and proposed that the

 3
     sanctions should include incarcerating Defendants and fining Defendants’ attorneys.
 4

 5 (Id.)

 6          Less than five minutes before the videoconference on May 17, 2024,
 7
     Defendants produced updated interrogatory responses. (Banks Declaration, ¶ 16).
 8
 9 During the videoconference, Plaintiffs used a share-screen function to review the

10 updated interrogatory responses with Defendants. (Banks Declaration, ¶ 17). The

11
     parties agreed that the updated interrogatory responses still failed to include the
12

13 account numbers for many of the bank accounts that were disclosed. (Id.) After

14 Plaintiffs had gone through some of the interrogatory responses to show the missing

15
     account numbers, Defendants stated that the issue was clear and Plaintiffs did not
16

17 need to point out the missing account numbers in the remaining interrogatory

18 responses. (Banks Declaration, Exhibit J).

19
            Furthermore, during the videoconference, Plaintiffs noted that the updated
20

21 interrogatory responses still failed to include current balances for many of the

22 disclosed financial accounts. (Banks Declaration, ¶ 18). Plaintiffs also re-iterated the

23
     tax-return-production deficiencies that they had previously identified. (Id.). The
24

25 parties also agreed that there was a clear inconsistency between Ryan Carroll’s prior

26 interrogatory responses and his updated interrogatory responses: the prior

27
     interrogatory responses disclosed that Dreams to Reality’s bank accounts had a
28
                                               - 11 -
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 1
     current value of $1,385,466, whereas the updated interrogatory responses disclosed

 2 that Dreams to Reality’s current bank accounts had a current value of $0. (Id.).

 3
     Finally, Plaintiffs repeated that they intended to move for sanctions given the clear
 4

 5 continuing deficiencies in Defendants’ productions. (Id.).

 6         On May 19, 2024, Defendants sent Plaintiffs an email that attempted to cure
 7
     some, but not nearly all, of the deficiencies that Plaintiffs discussed with Defendants
 8
 9 during the videoconference. (Banks Declaration, Exhibit K). In particular, Defendants

10 noted that Ryan Carroll’s original interrogatory responses disclosing that Dreams to

11
     Reality had current assets of over $1.38 million was incorrect because that figure was
12

13 a “comprehensive accounting of the peak value of all former Dreams to Reality bank

14 accounts” and had been incorrectly listed as the current value of the Dreams to

15
     Reality accounts in the interrogatory responses. (Id.). Notably, Defendants’
16

17 explanation still does not add up because, although Defendants are stating that the

18 $1.38 million figure represented the peak value of the Dreams to Reality accounts, on

19
     the updated interrogatory, the peak value of all Dreams to Reality assets sum to less
20

21 than $1 million. (Id.).

22         The May 19 email also disclosed account numbers for only two of the
23
     accounts. (Id.). The email implied that Plaintiffs had only pointed out two missing
24

25 account numbers on the videoconference, which was not true. (Id.). To date,

26 Defendants still have not corrected the remaining deficiencies.

27
           E. Defendants’ Asset Disclosures Are Clearly Incomplete
28
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 1
           As noted above, on April 15, 2024, the Court ordered Defendants to disclose

 2 financial accounts held by them or for their benefit by April 22, 2024. Subsequently,

 3
     the Court ordered Defendants to also disclose assets that had been under their control,
 4

 5 directly or indirectly, since May of 2022. Defendants have failed to do so. As

 6 examples:

 7
              • Precision Trading Group’s tax returns indicate that an entity called
 8
 9                Business Financial Solutions Advisory (“BFSA”) had an ending capital
10                account of $896,015 as of the end of 2022. Yet, Max K. Day’s (the
11
                  owner of BFSA) disclosures indicate that BFSA’s accounts had a peak
12

13                value of only $65,000. (Banks Declaration, ¶ 19-20).
14            • Precision Trading Group’s 2022 tax returns indicate that its current
15
                  assets included “Max Pro Marketing” with a value of $66,400 and
16

17                “HouTex Farm” with a value of $184,327, but those assets do not appear
18
                  on Precision Trading Group’s disclosures. (Banks Declaration, ¶ 21).
19
              • Precision Trading Group’s tax returns indicate that it has depreciable
20

21                assets and a vehicle, and it has not disclosed those assets. (Banks
22
                  Declaration, ¶ 22).
23

24
              • Yax Ecommerce’s tax returns indicate that it made an investment in

25                Bitcoin of $144,972 in 2021 or 2022, and its later tax returns do not
26
                  indicate any sales or transfers of that Bitcoin. Yet, Yax Ecommerce has
27

28
                  not disclosed any cryptocurrency assets. (Banks Declaration, ¶ 23-24).
                                             - 13 -
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 1            • Yax Ecommerce’s tax returns indicate that its assets included $2,568,010

 2                of investments as of the end of 2022, but Yax Ecommerce did not
 3
                  disclose any investment accounts. (Banks Declaration, ¶ 25).
 4

 5         Furthermore, the circumstantial evidence strongly indicates the examples listed

 6 above are only the tip of the iceberg. Specifically, Yax Ecommerce’s tax returns

 7
     report revenues of more than $57,000,000 between October 2021 and September
 8
 9 2023 (Banks Declaration, ¶ 13), and the evidence in the record demonstrates that the

10 revenues were not spent to run a legitimate business; Yax Ecommerce did not provide

11
     meaningful assets or services to its clients. That money was instead collected for the
12

13 benefit of Yax Ecommerce’ owners and principals, and those individuals must

14 disclose where the assets are hiding. Moreover, each of the individual defendants has

15
     indicated that they ordinarily require more than $13,000 per month to spend on
16

17 ordinary personal expenses. Yet, Ryan Carroll and Max O. Day have both disclosed

18 less than $25,000 in cash. (Banks Declaration, ¶ 26).

19
                                         ARGUMENT
20

21      A. The Court Should Order Defendants’ Attorneys To Pay Plaintiffs’
           Attorneys’ Fees And Costs
22

23         “The Court has the inherent power to impose sanctions where a party is
24
     engaged in bad faith or willful disobedience of a court's order.” Chambers v. NASCO,
25
     Inc., 501 U.S. 32, 46-47 (1991). “Civil penalties must either be compensatory or
26

27 designed to coerce compliance.” In re Dyer, 322 F.3d 1178, 1192 (9th Cir. 2003).

28
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 1
              Furthermore, under Fed. R. Civ. P. 37(b)(2)(C), when a party disobeys a

 2 discovery order, “the court must order the disobedient party, the attorney advising

 3
     that party, or both to pay the reasonable expenses, including attorney's fees, caused by
 4

 5 the failure, unless the failure was substantially justified or other circumstances make

 6 an award of expenses unjust.” See also Roadway Exp. Inc. v. Piper, 447 U.S. 752,

 7
     763 (1980) (“Both parties and counsel may be held personally liable for expenses,
 8
 9 'including attorney's fees,' caused by the failure to comply with discovery orders.”)

10 (quoting Stanziale v. First Nat'l City Bank, 74 F.R.D. 557, 560 (S.D.N.Y. 1997)).

11
     Moreover, an attorney may be sanctioned “whether or not he or she filed a paper
12

13 containing misstatements.” Gomez v. Vernon, 255 F.3d 1118, 1134 (9th Cir. 2001).

14            Here, in all the manners discussed above, Defendants have repeatedly and
15
     blatantly disobeyed the Court’s discovery orders without substantial justification.
16

17 Therefore, the Court must order Defendants or their attorneys to pay Plaintiffs’

18 attorneys’ fees and costs caused by Defendants’ failures. However, in this case,

19
     ordering Defendants to pay Plaintiffs’ attorneys fees would have little effect because
20

21 Defendants are already almost certainly insolvent. Moreover, Defendants’ attorneys

22 have made bad-faith interpretations of the Court’s orders and failed to correct

23
     deficiencies in Defendants’ productions. Therefore, the Court should order
24

25 Defendants’ attorneys to pay Plaintiffs’ attorneys’ fees and costs.
                                                                       4


26

27

28
     4
      Plaintiffs are currently represented pursuant to a contingency-fee arrangement. For purposes of this motion, Plaintiffs
     propose that the hourly rates for Plaintiffs’ attorneys be assumed to be $400 per hour.
                                                                 - 15 -
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 1
         B. The Court Should Order Defendants’ Attorneys To Pay Plaintiffs $1,000
            For Each Day That Defendants Are Not Compliant With The Court’s
 2          Orders
 3
              A court may issue coercive or compensatory sanctions against an attorney. See
 4

 5 Lasar v. Ford Motor Co., 399 F.3d 1101, 1110 (9th Cir. 2005).

 6            Here, the Court should order Defendants’ attorneys to pay Plaintiffs $1,000 for
 7
     each day that Defendants are not in compliance with the Court’s previous discovery
 8
 9 orders (in the past or in the future). Plaintiffs are almost certainly suffering harm
                                         5


10 each day that Defendants’ attorneys fail to comply with the Court’s emergency

11
     discovery order because it hinders Plaintiffs’ ability to find and trace Defendants’
12

13 assets; with each day that passes, it becomes less likely that Plaintiffs will be able to

14 find the assets at issue. Accordingly, the fine of $1,000 per day serves to compensate

15
     Plaintiffs for their lost ability to collect on any judgment that is eventually entered
16

17 against Defendants. Moreover, the fine will also serve a coercive purpose because it

18 will encourage Defendants’ attorneys to finally produce the information required by

19
     the Court’s prior orders.
20

21       C. The Court Should Order Defendants To Be Incarcerated Until They Have
            Complied With The Court’s Discovery Orders
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23            It is also appropriate to incarcerate individual defendants fail to reasonably
24 attempt to comply with a court’s order. For example, in SEC v. Elmas Trading Corp.,

25

26   5
      The fine could be paid to the Court pending class certification. If the class is certified, then the sanctions could be
27   distributed to the class members. Moreover, the fine should not be paid from the retainer that Defendants have paid their
     attorneys because that money belongs to Defendants’ attorneys, not Defendants. These mechanics—that is, directing the
28   payments into a trust and prohibiting payment from the retainer—should apply to any order for Defendants’ attorneys to
     pay Plaintiffs (whether the order is for Defendants to pay Plaintiffs’ attorneys fees or to pay a coercive fine).
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 1
     the Ninth Circuit upheld the district court’s order to incarcerate the defendants until

 2 they complied with the court’s discovery order. 824 F.2d 732, 733 (9th Cir. 1987).

 3
     More specifically the Ninth Circuit held that “[t]he record amply supports the district
 4

 5 court's view that [the defendant] has control of the documents and other materials

 6 which the court seeks and that [the defendant] is simply playing games with the

 7
     court” in part because “[t]he district court did not find credible [the defendant’s]
 8
 9 assertions that he has done everything he can to comply with its order.” Id.

10         Here—like in Elmas—Defendants have failed to comply with the Court’s order
11
     to disclose their assets, and they should be incarcerated until they comply.
12

13                                       CONCLUSION

14         For the reasons discussed above, Plaintiffs respectfully request that the Court
15
     (1) order that Defendants be incarcerated until they have complied with the Court’s
16

17 asset-disclosure orders, (2) order Defendants’ attorneys to pay Plaintiffs $1,000 for

18 each day that Defendants are not in compliance with the Court’s previous discovery

19
     orders (in the past or in the future), and (3) order Defendants’ attorneys to pay
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21 Plaintiffs’ attorneys fees and costs that would not have been incurred but-for

22 Defendants’ bad-faith conduct.

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                                    #:1111



 1

 2 Dated: May 31, 2024

 3
                                                     /s/Nico Banks
 4                                                   Nico Banks (CA SBN:344705)
                                                     BANKS LAW OFFICE
 5
                                                     712 H St NE, Unit #8571
 6                                                   Washington, DC 20002
                                                     Tel.: 971-678-0036
 7
                                                     Email: nico@bankslawoffice.com
 8
                                                     Richard A. Nervig (CA
 9
                                                     SBN:226449)
10                                                   RICHARD A. NERVIG, P.C.
                                                     501 West Broadway, Suite 800
11
                                                     San Diego, CA 92101
12                                                   Phone: 760-451-2300
                                                     Email: richard@nerviglaw.com
13

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        PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST ORIGINAL JURISDICTIONAL DEFENDANTS
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 1
                   WORD COUNT COMPLIANCE CERTIFICATION

 2 The undersigned, counsel of record for Plaintiffs, certifies that this brief contains

 3 fewer than 7,000 words, which complies with the word limit of L.R. 11-6.1.

 4 /s/Nico Banks

 5 Nico Banks
     Dated: May 31, 2024
 6

 7
                           CERTIFICATE OF CONSULTAION
 8
 9 As described in the Motion and the accompanying affidavit, I have consulted with
     Defendants extensively regarding the discovery issues discussed herein, and I
10 consulted with Defendants specifically about the sanctions requested via email and

11 via videoconference on May 17, 2024.

12 /s/Nico Banks
     Nico Banks
13
     Dated: May 31, 2024
14
                               CERTIFICATE OF SERVICE
15

16 On May 31, 2024, I served this motion and accompanying papers via first-class mail
     to the parties listed below with addresses below their names, and via email to the
17 parties with email addresses below their names:

18
   JARED DAY;
19
   19710 Chara Ct,
20 Cypress, TX 77433

21
   MATTHEW CROUCH;
22 9566 Greiner Rd,
   Clarence, NY 14031
23

24 CHRISTINE CARROLL;
     11298 Snow View Ct,
25
     Yucaipa, CA 92399
26

27
   TRAVIS MARKER; THE LAW OFFICE OF TRAVIS R. MARKER, A
28 PROFESSIONAL CORPORATION (D.B.A. “MARKER LAW AND
                                             - 19 -
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                                      #:1113



 1
   MEDIATION”); & PARLAY LAW GROUP A PROFESSIONAL
   CORPORATION
 2 333 2nd St.

 3 Suite 16,
   Ogden, UT, 84404
 4

 5 REYHAN PASINLI & TOTAL-APPS, INC.
     26800 Aliso Viejo Pkwy
 6 Ste 130,

 7 Aliso Viejo, Ca 92656

 8 TROY MARCHAND & QUANTUM ECOMMERCE
 9 Via email to their attorney Marc Reich at mgr@reichradcliffe.com

10 BONNIE NICHOLS & WHOLESALE UNIVERSE;

11 Via email to their attorney Brad Geyer at bradford.geyer@formerfedsgroup.com

12

13
   I declare under penalty of perjury under the laws of the State of California that the
14 foregoing statements in this Certificate of Service are true and correct.

15
   /s/Nico Banks
16 Nico Banks
   Dated: May 31, 2024
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                                             - 20 -
         PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST ORIGINAL JURISDICTIONAL DEFENDANTS
